 Case 3:16-cv-00513-D Document 141 Filed 01/12/18        Page 1 of 2 PageID 6336



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                          NORTHERN DIVISION

THREE EXPO EVENTS, L.L.C.,       §
             Plaintiff,          §
                                 §
          v.                     §   CASE NO. 3:16-CV-00513-D
                                 §
CITY OF DALLAS,                  §
               Defendant.        §
__________________________________________________________________

        NOTICE OF APPEARANCE AND REQUEST FOR NOTICE
__________________________________________________________________

TO ALL PARTIES, PLEASE TAKE NOTICE THAT:

      LATRICE E. ANDREWS files this her Notice of Appearance and Request for

Notice in the above-styled case, and respectfully requests that all notices given or

required to be given in these proceedings and all papers served or requested to be

served in these proceedings be served upon the undersigned individual at the

following address:

                         Latrice E. Andrews
                         Sheils Winnubst, P.C.
                         1701 N. Collins Boulevard
                         Suite 1100
                         Richardson, Texas 75080
                         (972) 644-8181
                         (972) 644-8180 facsimile
                         latrice@sheilswinnubst.com



NOTICE OF APPEARANCE AND REQUEST FOR NOTICE                                     Page 1
  Case 3:16-cv-00513-D Document 141 Filed 01/12/18        Page 2 of 2 PageID 6337



                                              Respectfully Submitted,

                                              SHEILS WINNUBST
                                              A Professional Corporation

                                              By:   /s/ Latrice E. Andrews
                                                    Latrice E. Andrews
                                                    State Bar No. 24063984

                                              1100 Atrium II
                                              1701 N. Collins Boulevard
                                              Richardson, Texas 75080
                                              Telephone: (972) 644-8181
                                              Facsimile: (972) 644-8180
                                              Email: latrice@sheilswinnubst.com

                                              ATTORNEYS FOR PLAINTIFF


                          CERTIFICATE OF SERVICE

      On the 12th day of January, 2018, I electronically submitted the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of
Texas, using the electronic case filing system of the Court. I hereby certify that I
have served all counsel and parties of record electronically or by another means
authorized through Federal Rule of Civil Procedure 5(b)(2) and Local Rule 7.2.



                                              /s/ Latrice E. Andrews
                                              Latrice E. Andrews




NOTICE OF APPEARANCE AND REQUEST FOR NOTICE                                      Page 2
